Appeal: 13-4208     Doc: 1        Filed: 03/15/2013 Pg: 1 of 1
                  Case 8:04-cr-00235-DKC Document 1613 Filed 03/15/13 Page 1 of 1

                                                                     FILED: March 15, 2013

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 13-4208
                                         (8:04-cr-00235-RWT-9)
                                         ___________________


        UNITED STATES OF AMERICA

                        Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, Dobie Parker

                        Defendant - Appellant


        This case has been opened on appeal.

        Originating Court                         United States District Court for the
                                                  District of Maryland at Greenbelt
        Originating Case Number                   8:04-cr-00235-RWT-9
        Date notice of appeal filed in            01/02/2013
        originating court:
        Appellant (s)                             Lavon Dobie

        Appellate Case Number                     13-4208
        Case Manager                              Cathy Poulsen
                                                  804-916-2704
